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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                               CASE NO. 11-61368-CIV-JORDAN

  DANA SKOU,                           )
                                       )
              Plaintiff
                                       )
  vs.                                  )
                                       )
  THE BARKING MOOSE,
                                       )
              Defendant                )
  ____________________________________ )

             ORDER DISMISSING CASE WITHOUT PREJUDICE AND CLOSING CASE
        In light of the stipulation for dismissal without prejudice [D.E. 9], this action against the
 Barking Moose is DISMISSED WITHOUT PREJUDICE , each party to bear its own costs and fees.
        Any and all pending motions are DENIED AS MOOT . This case is CLOSED .
                                                                    th
        DONE and ORDERED in chambers in Miami, Florida, this 16          day of August, 2011.



                                                              _______________________
                                                              Adalberto Jordan
                                                              United States District Judge
 Copy to:      All counsel of record
